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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:15-CR-00045 LJO-SKO
12                                Plaintiff,               STIPULATION TO CONTINUE
                                                           SENTENCING
13   v.
                                                           DATE:       October 21, 2019
14   MARTIN BAHRAMI,                                       TIME:       8:30 a.m.
                                                           JUDGE:      Hon. Lawrence J. O’Neill
15                                Defendant.
16

17                                             STIPULATION
18          The United States of America, by and through its counsel of record, and defendant, by and
19
     through his counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for sentencing on March 18, 2019 at 8:30 a.m.
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            2.      By this stipulation, the parties move to continue sentencing for defendant until
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23 October 21, 2019 at 8:30 a.m.

24          3.      The parties request the continuance so that defendant Bahrami has adequate time to

25 fulfill all of his obligations pursuant to his plea agreement. Sentencing in this matter has been
26 trailing the trial schedule for co-defendants since Mr. Bahrami’s change of plea on November 16,

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     2015. Trial is currently set for the co-defendants to begin on August 6, 2019, and therefore the
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     parties prefer to continue sentencing to a date following the trial.
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            4.      The parties further stipulate and request that the deadlines set for informal objections
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 3 to the Probation Office and formal objections to the Court be reset in accordance with the continued

 4 sentencing date.

 5 IT IS SO STIPULATED.

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 7
     DATED:         January 24, 2019
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 9                                          /s/ Henry Z. Carbajal III
                                            HENRY Z. CARBAJAL III
10                                          Assistant United States Attorney

11
     DATED:         January 24, 2019
12

13                                          /s/Megan T. Hopkins
                                            MEGAN T. HOPKINS
14                                          Counsel for Defendant
                                            MARTIN BAHRAMI
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16
                                                    ORDER
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     So found.
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19 IT IS SO ORDERED.
20      Dated:     January 24, 2019                          /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
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